Case 1-19-40024-cec Doc11 Filed 02/22/19 Entered 02/22/19 16:41:51

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
NOTICE OF MOTION
MD A Kashem
CASE #: 1-19-40024-cec
Debtor(s). CHAPTER 7

 

PLEASE TAKE NOTICE that upon the annexed Application of Wells Fargo Bank, N.A.
as servicing agent for HSBC Bank USA, National Association as Trustee for Nomura Asset
Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AP3, a secured creditor
of the Debtor, by the undersigned will move this Court at the United States Bankruptcy Court,
Conrad B. Duberstein Courthouse, 271-C Cadman Plaza East, Suite 1595, Brooklyn, NY 11201-
1800 on March 21, 2019 at 2:00 p.m., or as soon thereafter as Counsel may be heard, for an Order
pursuant to Bankruptcy Code Section 362(d), granting Wells Fargo Bank, N.A. as servicing agent
for HSBC Bank USA, National Association as Trustee for Nomura Asset Acceptance Corporation,
Mortgage Pass-Through Certificates, Series 2005-AP3, as mortgagee of the debtor's property
located at 168-46 89th Avenue, Jamaica, NY 11432, relief from the automatic stay for the purpose

of foreclosing its Mortgage, and for such other and further relief as the Court deems just and proper.

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PURSUANT TO LOCAL BANKRUPTCY RULE 9006-1(a), ANY ANSWERING
PAPERS ARE TO BE SERVED SO AS TO BE RECEIVED BY THE SECURED
CREDITOR’S COUNSEL NO LATER THAN SEVEN (7) DAYS PRIOR TO THE

HEARING DATE.

DATED: February 22, 2019
Rochester, New York

TO:

Ehsanul Habib

Law Office of Ehsanul Habib
118-21 Queens Blvd, Suite 603
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MD A Kashem
168-46 89th Avenue
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Mohammed M Hossain
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Jamaica, NY 11432

David J Doyaga

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Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
USS. Federal Office Building

201 Varick Street, Suite 1006

New York, NY10014

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[s/ Aleksandra _K. Fugate, Esq.
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